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UNITED STATES DISTRICT COURT FILED
FOR THE NORTHERN DISTRICT OF TEKAS |
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Vs. C.A. No.: ” Deputy
DON WOOD 8-23 V-7.-
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ANDREW STEFANIDES, JURY TRIAL REQUESTED
&
AMERICAN COALITION FOR CRISIS
RELIEF PAC,
&
CRISIS RELIEF CONSULTANTS, INC.
Defendants

COMPLAINT

I. INTRODUCTION

This is a civil action about two men—Dr. Don Wood and Andrew Stefanides—who

run a scam political action committee (SCAM PAC) to fleece consumers of money for an

ostensibly noble cause, while Wood and Stefanides pocket the money for themselves and

their business partners. In order to obtain money, Defendants place unauthorized robocalls

to consumers like Plaintiff using an artificial or prerecorded voice on behalf of fake entities

such as “Breast Cancer Relief Committee,” or “Veterans Crisis Relief Fund.” In these calls,
Defendants repeatedly claim that the money goes to “life-saving treatment” for women with

breast cancer. In reality, none of the money paid to American Coalition for Crisis Relief

PAC (“ACCR”’) goes to any treatment for women with breast cancer. None of the

ACCR money goes to treat Veterans with PTSD. And ACCR is not running a small

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enterprise. Since being founded in June of 2019, ACCR collected $7,098,332.' Where do
all these millions of dollars go? Back to Wood, Stefanides, and their fundraisers.

Recently, media outlets reported that these scams have become so bad that the
Federal Election Commission finally took action to stop SCAM PACS: “Ina rare case of
bipartisan unity, the Federal Election Commission this week unanimously urged lawmakers
to tackle so-called “scam PACs” that claim to support a political candidate but end up
enriching the founders and their friends.”

Defendants claim their business is headquartered in Texas, but they never registered
for a business license in Texas. This is deliberate. Defendants want to conceal their

misdeeds and hamstring any accountability or compliance regime. This needs to stop.

Il. NATURE OF THE ACTION

1. Defendants Wood, Stefanides, and ACCR PAC solicit consumers to pay for life-
saving treatment for women with breast cancer. As a primary part of their marketing
efforts, Defendants placed thousands of calls employing an artificial or prerecorded
voice message to cell phones and residential phones nationwide.

a In 2013, the FCC required prior express written consent for all autodialed or
prerecorded telemarketing calls (“robocalls”) to wireless numbers and residential
lines. Specifically, it ordered that:

[A] consumer’s written consent to receive telemarketing robocalls must be
signed and be sufficient to show that the consumer: (1) received “clear and
conspicuous disclosure” of the consequences of providing the requested
consent, i.e., that the consumer will receive future calls that deliver
prerecorded messages by or on behalf of a specific seller; and (2) having

received this information, agrees unambiguously to receive such calls at a
telephone number the consumer designates.[] In addition, the written

' See: https://docquery.fec.gov/cgi-bin/fecimg/?C00709113; Accessed July 17, 2023.
2 See https://www.businessinsider.com/fec-asks-congress-to-take-action-on-scam-pacs-2022-12. Accessed
July 16, 2023.

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agreement must be obtained “without requiring, directly or indirectly, that the

agreement be executed as a condition of purchasing any good or service.”
In the Matter of Rules & Regulations Implementing the Tel. Consumer Prot. Act of 1991, 27 F.C.C.
Rcd. 1830, 1844 (2012) (footnotes omitted) (“the FCC Letter’’).

3. Defendants did not obtain consent prior to placing these calls and, therefore, are in
violation of the Telephone Consumer Protection Act (“TCPA”), 47 U.S.C. § 227.

A. The TCPA is a remedial statute that was passed to protect consumers from
unwanted prerecorded telephone calls in response to complaints about increased
telemarketing. See S. Rep. 102-178, at 1, 5 (1991).

os Congress enacted the TCPA in 1991 to restrict telemarketing equipment that could
target millions of consumers en masse. Congress found that these calls were not only a
nuisance and an invasion of privacy to consumers specifically but were also a threat
to interstate commerce generally. See S. Rep. No. 102-178, at 2-3 (1991).

6. Despite such strong legislation passed almost 30 years ago, this problem worsens
with each year.

ds According to online robocall tracking service ““YouMail,” 4.9 billion robocalls were

placed in June 2023 alone, at a rate of 161.9 million calls per day

www.robocallindex.com;(last visited July 17, 2023).

8. The FCC received an overwhelming number of complaints about unwanted calls,
with 150,000 complaints in 2016, 185,000 complaints in 2017, 232,000 complaints in
2018, 192,000 complaints in 2019, 156,000 complaints in 2020, and 161,000
complaints in 2021. FCC, Consumer Complaint Data Center,

www.fcc.gov/consumer-help-center-data; (last visited July 17, 2023).

9. “Unwanted calls — including illegal and spoofed robocalls - are the FCC’s top

consumer complaint and our top consumer protection priority.” FCC press release,
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Cutting off Robocalls; (July 25, 2022), statement of FCC.

“The FTC receives more complaints about unwanted calls than all other complaints
combined.” Staff of the Federal Trade Commission’s Bureau of Consumer
Protection, In re Rules and Regulations Implementing the Telephone Consumer Protection
Act of 1991, Notice of Proposed Rulemaking, CG Docket No. 02-278, at 2 (2016).
The TCPA targets unauthorized calls exactly like the ones alleged in this case, based
on Defendants’ use of technological equipment to spam consumers with their
telephone solicitations on a grand scale.

By placing the calls at issue, Defendants have violated the privacy and statutory
rights of Plaintiff.

Plaintiff therefore seeks an injunction requiring Defendants to stop their unconsented
calling.

The Plaintiff brings this action alleging the Defendants violated the Telephone
Consumer Protection Act, 47 U.S.C. § 227 (hereinafter “TCPA”). The Plaintiff
seeks statutory damages and injunctive relief under the TCPA.

The Plaintiff also alleges that Defendants’ conduct violated the Texas Business and
Commerce Code § 302.101 and § 305.053. The Plaintiff seeks statutory damages,
costs, attorney’s fees, and injunctive relief for each Defendant under Texas law.
Plaintiff has no pre-existing business relationship with the Defendants and never
requested by an agreement or otherwise that he be contacted.

Any violations by Defendants were knowing, willful, intentional, and Defendants

did not maintain procedures reasonably adapted to avoid any such violation.

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Ill. JURISDICTION AND VENUE

This Court has jurisdiction to hear the TCPA claims in this matter pursuant to 47
U.S.C. § 227(b)(3) and 47 U.S.C. § 227(c)(5).

This Court has jurisdiction to hear Plaintiffs state law claims pursuant to Tex. Bus.
& Com. Code § 17.50.

This Court has personal specific jurisdiction over Defendants because Defendants
reside in Texas and target consumers with their solicitations from Texas, including to
Plaintiff, who resides in Texas.

Defendants’ marketing towards residents of Texas is the subject of this dispute from
which this lawsuit arises.

Venue in this County is proper pursuant to 47 U.S.C. § 227(b)(3) and 47 U.S.C. §
227(c)(5) because the Defendant is a resident of this District in Dallas, TX, and the
conduct complained of took place in this District.

IV. BIRTH OF A SCAM

Upon information and belief, Don Wood goes by the moniker Dr. Don Wood, and
holds himself out to the public in Florida as a psychologist and “healer.” See:

https://www.drwoodphd.com/about-me; Accessed July 17, 2023.

Dr. Don Wood does not have any Florida license to practice as a psychologist or as a
mental health counselor. See: https://mqa-

internet.doh. state. fl.us/ MOA SearchServices/HealthCareProviders; Accessed July

17, 2023.
Dr. Don Wood claims that he pioneered a therapeutic technique so revolutionary

that it permanently cures post traumatic stress in only four hours. See:
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https://www.inspiredperformanceinstitute.com/how-tipp-works/; Accessed July 17,

2023.
Dr. Don Wood further claims that he permanently healed “his daughter’s Crohn’s
disease and his wife’s autoimmune disease” through his “cutting-edge” technique.

See: https://www.drwoodphd.com/about-me; Accessed July 17, 2023.

As part of Dr. Don Wood’s medical practice, he built a Florida company called
Crisis Relief Network that began treating trauma survivors (despite not having a
medical license to do so).

The Crisis Relief Network claims through a testimonial that, “A lady who had
experienced severe childhood sexual abuse and was living with deep depression
wrote to us a few days after her two-hour session and said ‘You saved my life, thank
you, thank you. thank you’. Priceless!” See:

https: //web.archive.org/web/20230531231932/https://crisisreliefnetwork.org/abo

ut-us/; Accessed July 17, 2023.

Despite the amazing (and incredible) results, Dr. Don Wood was not satisfied with
his healing powers, so he sought to diversify his offerings under a political action
committee and a new company called “Crisis Relief Consultants, Inc.”

On June 13, 2019, Don Wood files paperwork with the Federal Election
Commission establishing the “American Coalition for Crisis Relief PAC.” See:

https: //docquery.fec.gov/cgi-bin/forms/C00709113/1333918/.

Just a few days after Dr. Don Wood founded ACCR, he then founded Defendant
Crisis Relief Consultants, Inc. (“CRC”) as a Florida entity in July of 2019. See

Exhibit A: Articles of Incorporation for Crisis Relief Consultants, Inc.

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following disbursements to Crisis Relief Consultants, Inc:°

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entity to siphon money from the ACCR for “PAC Management Services.”

Date

Payment to Crisis Relief Consultants, Inc.

March 4, 2020 $7,500.00
March 6, 2020 $7,500.00
March 13, 2020 $5,000.00
March 31, 2020 $7,500.00
April 30, 2020 $5,000.00
June 26, 2020 $7,500.00
June 26, 2020 $7,500.00
August 14, 2020 $2,500.00
October 1, 2020 $10,000.00
November 30, 2020 $3,176.48
January 29, 2021 $6,594.35
February 9, 2021 $10,000.00
March 12, 2021 $10,000.00
April 15, 2021 $7,500.00
June 3, 2021 $10,000.00
September 24, 2021 $42,500.00
December 16, 2021 $17,500.00
January 13, 2022 $20,000.00
February 1, 2022 $5,000.00
February 4, 2022 $7,500.00
March 3, 2022 $7,500.00
March 7, 2022 $7,500.00
April 1, 2022 $20,000.00
April 28, 2022 $10,000.00
July 1, 2022 $15,000.00
August 8, 2022 $10,000.00
October 31, 2022 $10,000.00
December 14, 2022 $5,000.00
February 15, 2023 $25,000.00

TOTAL

$309,770.80

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The purpose of Crisis Relief Consultants, Inc. was to act as a pass-through, for-profit

Since inception, ACCR has reported to the Federal Election Commission the

Upon information and belief, these “PAC Management Services” were not to

ear_transaction period=2020 ; Accessed July 17, 2023.

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manage a PAC, but rather to enrich Don Wood, Andrew Stefanides, and their
cronies with a rich slush fund of at least $309,770.80. Upon information and belief,
this number is grossly unreported and does not include the full tally of money that
Stefanides and Wood have pilfered from ACCR.

In December of 2020, Dr. Don Wood handed the reigns of Treasurer of ACCR to
Andrew Stefanides, but Dr. Don Wood still lists his email address

(don@americancoalitionforcrisisrelief.com) as the point of contact for ACCR with

the Federal Election Commission. See:

https://docquery.fec.gov/pdf/652/202004209219760652/202004209219760652.pdf

At no time did Dr. Don Wood, Andrew Stefanides, CRC, or ACCR ever treat
women with breast cancer.
At no time did Dr. Don Wood, Andrew Stefanides, CRC, or ACCR ever treat
Veterans for PTSD.

V. PARTIES
The Plaintiff is a natural person and is a resident of Texas.
Plaintiff is a person as that term is defined or referenced by 47 U.S.C. § 153(39).
Upon information and belief, Defendant Don Wood (“Wood”) is a natural person
and founder of Defendant ACCR and CRC.
Defendant Wood is a person as that term is defined or referenced by 47 U.S.C. §
153(39).
Upon information and belief, Defendant Andrew Stefanides (“Stefanides”’) is a
natural person and Treasurer of Defendant ACCR.

Stefanides is also a Director of Defendant CRC.
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Defendant Stefanides is a person as that term is defined or referenced by 47 U.S.C. §
153(39).

Defendant ACCR is a person as that term is defined or referenced by 47 U.S.C. §
153(39).

Defendant ACCR is an unknown business entity but ACCR reports to the FEC that
its principle place of business is 3626 North Hall Street, Ste. 610, Dallas, TX 75219.

See: https://docquery.fec.gov/cgi-bin/forms/C00709113/1674238/; Accessed July

17, 2023.
This principle place of business for ACCR is actually a small virtual office in Dallas,
Texas.
Defendant CRC is a Florida business entity with its principal place of business at
1321 W. Main Street Orlando, FL 34748.
Defendants at all times acted by and through one or more of the Agents.

VI. FACTUAL ALLEGATIONS
Defendants Wood, Stefanides, and ACCR solicit money to pay for women with
breast cancer and Veterans with PTSD, but keeps the money for themselves and their
fundraisers.
Defendant ACCR masquerades as a legitimate business entity to solicit for Wood’s
and Stefanides’ scam. Wood and Stefanides direct ACCR to place telephone
solicitations to consumers for treatment services for women with breast cancer and
Veterans with PTSD.

To increase their revenue and avoid paying for legitimate forms of advertising and

telemarketing, Wood and Stefanides hired and directed John Doe to market ACCR

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PAC and produce inbound calls.

John Doe amassed a list of thousands of phone numbers from unknown sources that
were believed to be consumer telephone numbers.

John Doe called and played artificial or prerecorded voice messages to thousands of
cellular and residential phones at a time.

When Plaintiff answered expecting to hear from a real person, John Doe pulled a
bait and switch by playing an artificial or prerecorded voice message.

Defendants respected Plaintiff's time and privacy so little that they did not even hire
a real person to call him—they used a machine to play prerecorded messages to
thousands of consumers at once.

Defendants hoped that if enough people paid for the “life-saving treatment” as a
result of the robocalls, it would justify the annoyance experienced by the recipients of
the calls as the “cost of doing business.”

Defendants did not possess consent from Plaintiff as required prior to deploying
these prohibited messages.

On June 1, 2022, at approximately 5:10 PM ET, Plaintiff received a call on his
personal cellular telephone from the phone number (434) 818-0078.

When Plaintiff answered, he immediately heard an artificial voice that said “hello”
in a robotic sound.

When Plaintiff responded with, “hello,” he heard a click and then background noise
that sounded like a busy call center.

Plaintiff then heard a woman’s voice that was different from the original “hello”

artificial voice.

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Plaintiff recognized the woman’s voice because he has received multiple prerecorded
voice calls with the same woman’s voice.

The woman was speaking from a script and used the same voice, intonation, and
rhythm for each call.

The woman repeated herself identically within the same call in such a way that it
was obvious to any listener that the caller was using prerecorded voice.

The woman identified himself as “Sarah Thomas” from the “Breast Cancer Relief
Committee PAC.”

Sarah Thomas is the name of a real breast cancer survivor who is prominent for
achieving an extraordinary accomplishment and giving hope to women across the
world. A year after completing treatment for stage II breast cancer, Sarah Thomas
swam the English Channel four times, non-stop. See:

https: //www.breastcancer.org/podcast/survivor-swim; Accessed July 19, 2023.

Sarah Thomas maintains a website at https://sarahthomasswims.com/.

Plaintiff has personally verified with the real Sarah Thomas that the audio recording
from Defendant ACCR’s solicitation call to Plaintiff was not the actual voice of the
swimmer Sarah Thomas.
Defendants intended to mislead consumers into believing that the real Sarah Thomas
supported the ACCR scam.
The woman asked Plaintiff for money to support women with breast cancer using the
following prerecorded voice message:

“It’s Sarah Thomas for the Breast Cancer Relief Committee PAC. We're having our

fundraising drive and providing donation return envelopes to all supporters.

Tragically, one in eight women will get breast cancer, and every day women die
because their cancer is not caught in time. Our hope is for the fast-track approval of life-

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saving tests and treatment for women with cancer who cannot afford them. So, we need
to elect lawmakers with that goal in mind. Now, when you receive your donation
return envelope, can we count on you to return a small donation for the drive.”
The caller then transferred Plaintiff to yet another prerecorded voice message system
to give the fraudulent appearance that Plaintiff was speaking to a live person.
In fact, Defendants transferred Plaintiff to a prerecorded voice system named
“Jackie.”
Plaintiff recognized the voice of “Jackie” because he has received multiple
prerecorded voice calls with the same woman’s voice.
The scripts from Jackie used a prerecorded message to respond to an algorithm of
consumer statements and responses.
There is no Political Action Committee registered with the Federal Election

Commission as “Breast Cancer Relief Committee PAC.” See:

https://www.fec.gov/search/?type=candidates&type=committees&type=site&quer

y=breast+cancer+relief+committee; Accessed July 20, 2023.

Defendant American Coalition for Crisis Relief PAC does not report the name
“Breast Cancer Relief Committee PAC” to the Federal Election Commission as a
connected organization or affiliated committee on Block 6 of their FEC Form 1
statement of organization. See:

https://docquery.fec.gov/pdf/658/202301049574284658/202301049574284658.pdf

Defendants deliberately use the phony name of “Breast Cancer Relief Committee” to
create confusion for consumers.
The messages did not clearly state the telephone number of such business, other

entity, or individual.

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The calls did not provide an automated, interactive voice- and/or key press-activated
opt-out mechanism for the called person to make a do-not-call request.

Plaintiff was interested in the group so he provided his address to the automated
system so that he could learn more about the organization since the prerecorded
message did not provide the full name or phone number of the organization.
Plaintiff does not have any account or business with Defendants.

Plaintiff has no pre-existing business relationship with Defendants and never
requested by an agreement or otherwise that he be contacted on his personal cellular
telephone.

Plaintiff never provided his cellular telephone number to Defendants and never
provided his consent to Defendants to be contacted on his cellular telephone.

At no time did the Plaintiff take any action to invite calls from Defendants.

At all times relevant to this Complaint, Plaintiffs phone number is part of the
national Do Not Call registry.

Subsequent to the call from Defendants on June 1, 2022, Defendants called Plaintiff
at least seven more times after that call.

When Defendants placed the subsequent phone calls to Plaintiff, they had a woman
respond with the name of “Jane” from the “Breast Cancer Relief Committee PAC.”
The voice of “Jane” was the same voice of the fake “Sarah Thomas” in the initial
call.

Defendants continued to call Plaintiff as many as three times a day with prerecorded
voice.

Each call contained prerecorded voice that was identical to the other calls. It was

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obvious to any listener that the call was prerecorded because it includes the same
sounding voice, with the exact same script, same rhythm, and same intonation.
Defendants placed at least eight (8) calls in total to Plaintiff's personal cellular
telephone.

Defendants used artificial voice to call Plaintiff on his cellular telephone.
Defendants used prerecorded voice to call Plaintiff on his cellular telephone.

The telephone number that Defendants used to contact Plaintiff was assigned to
Plaintiff's cellular telephone service as specified in 47 U.S.C. § 227(b)(1)(A) (i).
Plaintiff uses this phone for personal purposes, such as listening to music while
exercising at home, enjoying weather apps, and to assist with cooking home meals.
Plaintiff's cellular telephone has a limited minutes plan, so that when Defendants call
Plaintiff, they deplete the minutes on Plaintiff's plan.

Defendants did not initiate any call to Plaintiff's cellular telephone number for an
emergency purpose.

Plaintiff incurred actual damages as a result of Defendants’ behavior.

Defendants’ phone calls harmed Plaintiff by causing the very harm that Congress
sought to prevent—a ‘“‘nuisance and invasion of privacy.”

Defendants’ phone calls harmed Plaintiff by trespassing upon and interfering with
Plaintiffs rights and interests in Plaintiff's cellular telephone.

Defendants’ phone calls harmed Plaintiff by trespassing upon and interfering with
Plaintiffs rights and interests in Plaintiffs cellular telephone line.

Defendants’ phone calls harmed Plaintiff by intruding upon Plaintiffs seclusion.

Defendants harassed Plaintiff by incessantly calling Plaintiff's telephone.

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Defendants’ phone calls harmed Plaintiff by causing Plaintiff aggravation and
annoyance.

Defendants’ phone calls harmed Plaintiff by wasting Plaintiff's time.

Defendants’ phone calls harmed Plaintiff by depleting the battery life on Plaintiff's
cellular telephone.

Defendants’ phone calls harmed Plaintiff by using data storage space in Plaintiff's
cellular telephone.

Defendants initiated the telephone calls and messages for the purpose of encouraging
Plaintiff to pay for the services for “life-saving treatment” and “testing” for breast
cancer.

The telephone calls to Plaintiff's cellular telephone number were not initiated by
accident or mistake.

Defendants do not maintain a written policy for maintaining a do-not-call list.
Defendants have not informed and trained personnel engaged in making calls on the
use of the do-not-call list.

Defendants do not have a registration certificate with the Texas Secretary of State to
conduct telephone solicitations in Texas.

It is unfair for Defendants to call Plaintiff when Plaintiff listed his number on the Do
Not Call Registry.

It is unfair for Defendants to call Plaintiff when Defendants lacked consent to call
Plaintiff.

Vil. THEORIES OF LIABILITY AGAINST DEFENDANTS

Even if Wood, Stefanides, or ACCR did not personally initiate the TCPA-violating

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calls, Wood, Stefanides, and ACCR are liable because they took steps to cause the

calls to be made, and the calls were made pursuant to their actual or apparent

authority, and/or ratification. Further, Wood, Stefanides, CRC, and ACCR are

liable for participating in a joint enterprise or acting in concert with John Doe.

Wood and Stefanides are liable for the conduct of ACCR and John Doe because they

know that ACCR is an unregistered entity in Texas.

DIRECT LIABILITY UNDER THE TCPA

Defendants’ scheme involves the use of illegal robocalling to promote their

solicitations.

John Doe is directly liable under the TCPA for calling Plaintiffs phone using an

artificial or prerecorded voice.

Wood, Stefanides, and ACCR are also directly liable under the TCPA for

outsourcing their telemarketing to John Doe.

On May 9, 2013, the FCC confirmed this principle in a Declaratory Ruling holding

that sellers may not avoid liability by outsourcing telemarketing:
[A]llowing the seller to avoid potential liability by outsourcing its
telemarketing activities to unsupervised third parties would leave consumers
in many cases without an effective remedy for telemarketing intrusions. This
would particularly be so if the telemarketers were judgment proof,
unidentifiable, or located outside the United States, as is often the case. Even
where third-party telemarketers are identifiable, solvent, and amenable to
judgment limiting liability to the telemarketer that physically places the call
would make enforcement in many cases substantially more expensive and less
efficient, since consumers (or law enforcement agencies) would be required to
sue each marketer separately in order to obtain effective relief. As the FTC
noted, because “[s]ellers may have thousands of ‘independent’ marketers,
suing one or a few of them is unlikely to make a substantive difference for

consumer privacy.
In re Dish Network, 28 FCC Rcd at 6588 (4 37) (internal citations omitted).

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VICARIOUS / AGENCY LIABILITY
The Dish Network FCC Ruling rejected a narrow view of TCPA liability, including
the assertion that a seller’s liability requires a finding of formal agency and
immediate direction and control over the third-party who placed the telemarketing
call. Id. at 6587 n. 107.
Prior to conducting discovery in this litigation, due to the anonymous nature of
robocalling, Plaintiff has no way to identify the exact parties who called his phone.
It could have been Wood, Stefanides, ACCR, CRC, or some other unknown
company John Doe.
However, for the purposes of TCPA liability, Plaintiff is not expected to know this
information at the pleading stage.
The Dish Network FCC Ruling states that called parties may obtain “evidence of these
kinds of relationships . . . through discovery, if they are not independently privy to
such information.” Id. at 6592-593 (4 46). Moreover, evidence of circumstances
pointing to apparent authority on behalf of the telemarketer “should be sufficient to
place upon the seller the burden of demonstrating that a reasonable consumer would
not sensibly assume that the telemarketer was acting as the seller’s authorized
agent.” Id. at 6593 (4 46).

ACTUAL AUTHORITY

Defendants Wood, Stefanides, CRC, and ACCR gave actual authority to John Doe
to generate prospective customers.
Robocalling was integrated seamlessly into their telephone solicitation process that it

appeared to outside parties like Plaintiff that John Doe was the telemarketing

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department of Wood, Stefanides, CRC, and ACCR.
Wood, Stefanides, CRC, and ACCR acted in concert with John Doe and have been
able to enjoy the benefits of mass robocalling while moving the illegal activity
“outside their purview.”
John Doe had actual authority to make robocalls to Plaintiff on behalf of Wood,
Stefanides, CRC, and ACCR. This is further evidenced by the written
correspondence that Plaintiff received from Defendants.
The FCC has explained that its “rules generally establish that the party on whose
behalf a solicitation is made bears ultimate responsibility for any violations.” See Jn
re Rules & Regulations Implementing the TCPA, CC Docket No. 92-90, Memorandum
Opinion and Order, 10 FCC Rcd 12391, 12397 (4 13) (1995).
In their January 4, 2008 ruling, the FCC reiterated that a company on whose behalf a
telephone call is made bears the responsibility for any violations. Jd. (specifically
recognizing “on behalf of” liability in the context of a prerecorded message call sent
to a consumer by a third party on another entity’s behalf under 47 U.S.C. § 227(b)).
More specifically, the Dish Network FCC Ruling held that, even in the absence of
evidence of a formal contractual relationship between the seller and the telemarketer,
a seller is liable for telemarketing calls if the telemarketer “has apparent (if not actual)
authority” to make the calls. 28 FCC Rcd at 6586 (4 34).

APPARENT AUTHORITY
The Dish Network FCC Ruling further clarifies the circumstances under which a
telemarketer has apparent authority:

[A]pparent authority may be supported by evidence that the seller allows the
outside sales entity access to information and systems that normally would be

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Case 3:23-cv-01831-L-BT Document3 Filed 08/16/23 Page190f31 PagelD 23

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within the seller’s exclusive control, including: access to detailed information
regarding the nature and pricing of the seller’s products and services or to the
seller’s customer information. The ability by the outside sales entity to enter
consumer information into the seller’s sales or customer systems, as well as
the authority to use the seller’s trade name, trademark and service mark may
also be relevant. It may also be persuasive that the seller approved, wrote or
reviewed the outside entity’s telemarketing scripts. Finally, a seller would be
responsible under the TCPA for the unauthorized conduct of a third-party
telemarketer that is otherwise authorized to market on the seller’s behalf if the
seller knew (or reasonably should have known) that the telemarketer was
violating the TCPA on the seller’s behalf and the seller failed to take effective
steps within its power to force the telemarketer to cease that conduct.
28 FCC Rcd at 6592 (¥ 46).

Wood, Stefanides, CRC, and/or ACCR authorized John Doe to generate

prospective customers for them.

It appeared to Plaintiff that John Doe was one and the same company as Wood,

Stefanides, CRC, and/or ACCR.

Plaintiff reasonably believed and relied on the fact that John Doe had received

permission and instructions from Wood, Stefanides, CRC, and/or ACCR to solicit

for life-saving treatment and testing for breast cancer.

RATIFICATION
Defendants Wood, Stefanides, CRC, and ACCR actively accepted business that
originated through the illegal robocalls placed by John Doe.
By accepting monies for life-saving treatment pursuant to a robocall, Wood,
Stefanides, CRC, and ACCR “manifest[ed] assent or otherwise consent[ed] . . . to
act” on behalf of Defendant John Doe, as described in the Restatement (Third) of
Agency.
Wood, Stefanides, CRC, and ACCR ratified John Doe’s TCPA violations by

knowingly accepting the benefit of Plaintiff as a new customer despite the way

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Plaintiff was the victim of Defendants’ illegal marketing scheme.
ACCR permitted their salespeople to solicit prospective customers for Wood,
Stefanides, CRC, and ACCR including Plaintiff, while turning a blind eye to the
illegal way in which the potential customer was identified.
Wood, Stefanides, CRC, and ACCR ratified John Doe’s TCPA violations by being
willfully ignorant of the violations or by being aware that such knowledge was
lacking.
The ratification by Wood, Stefanides, CRC, and ACCR caused John Doe to have
actual authority under Restatement § 4.01 cmt. b.

JOINT ENTERPRISE
Wood, Stefanides, CRC, and ACCR had a tacit agreement or approved of after the
fact with John Doe for the sale of breast cancer testing and life-saving treatment
pursuant to John Doe’s illegal robocalls.
Defendants were part of a common enterprise and had a community of interest in
soliciting breast cancer treatment on behalf of Wood, Stefanides, CRC, and ACCR.
Wood, Stefanides, CRC, and ACCR had an equal right to control the conduct
thereof by specifying the type of people to be called, the questions and scripts that
should be employed with prospective consumers, and how to write and execute
contracts on behalf of Wood, Stefanides, CRC, and ACCR.
Defendants had a duty to exercise due care when placing phone calls and marketing
their services.
Defendants’ violation of the TCPA is negligence per se.

Because of Defendants’ negligence, Plaintiff suffered actual damages.

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Wood, Stefanides, ACCR, CRC, and John Doe are jointly and severally liable for

the resulting damage.

ACTING IN CONCERT
Defendants were part of a common design to robocall consumers and then sell
Wood’s, Stefanides’, CRC’s, and ACCR’s breast cancer treatment services.
Wood, Stefanides, CRC, and ACCR had a tacit understanding that John Doe was
robocalling in violation of the TCPA.
Wood, Stefanides, CRC, and ACCR knew that John Doe’s conduct was a breach of
duty to Plaintiff.
Wood, Stefanides, CRC, and ACCR gave John Doe substantial assistance in
accomplishing the tortious result, including compensating John Doe for generating
customers pursuant to robocalls and giving instructions on how to represent them
and what to ask the people that had been robocalled.
Wood, Stefanides, CRC, and ACCR furthered the tortious conduct by their
cooperation with John Doe and adopted John Doe’s robocalling and solicitation for
their own benefit.
Wood’s, Stefanides’, CRC’s and ACCR’s own conduct constitutes a breach of duty
to Plaintiff.
Plaintiff's injury is indivisible.
All Defendants acted tortiously, and the harm resulted from the robocalling of John

Doe to Plaintiff.

Wood, Stefanides, ACCR, CRC, and John Doe are joint and severally liable for the

Case 3:23-cv-01831-L-BT Document3 Filed 08/16/23 Page 22o0f31 PagelD 26

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resulting damages.

COUNT I - Telephone Consumer Protection Act — 47 U.S.C. § 227(b)(3)

The acts of the Defendants constitute violations of the Telephone Consumer

Protection Act.

Defendants’ violations of the TCPA include, but are not limited to, the following:

i. Making and/or initiating a telephone call using ean artificial or prerecorded
voice to any telephone number assigned to a cellular telephone service, in
violation of 47 U.S.C. § 227(b)(1)(A) (aii).

As a result of Defendants’ actions, under 47 U.S.C. § 227(b)(3), Plaintiff is entitled to

an award of statutory damages of $500.00 for each such violation and an injunction

prohibiting future conduct in violation of the TCPA.

Since Defendants’ violations were committed willfully and knowingly, Plaintiff

requests an award of statutory damages of $1,500.00 under 47 U.S.C. § 227(b)(3) for

each such violation.

Wherefore, the Plaintiff requests judgment against each Defendant for:

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1) Statutory Damages in the amount of $1,500 for “each such violation”
pursuant to 47 U.S.C. § 227(b)(3);

2) Injunctive Relief to restrain and enjoin Defendants from initiating phone
calls using artificial or prerecorded voice to cellular telephones with prior
express consent.

3) Referral to the Texas Attorney General for prosecution under 47 U.S.C. §
227(g).

COUNT II - Telephone Consumer Protection Act— 47 U.S.C. § 227(c)(5)
The acts of the Defendants constitute violations of the Telephone Consumer
Protection Act, which provides an additional, distinct private right of action at §

227(c)(5).

Defendants’ violations of the TCPA include, but are not limited to, the following:

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Case 3:23-cv-01831-L-BT Document3 Filed 08/16/23 Page 230f31 PagelD 27

i. Placing more than one telephone call to Plaintiff's cellular phone without
consent in violation of the TCPA regulations.
47 U.S.C. § 227(c)(5).

165. Asaresult of Defendants’ actions, under 47 U.S.C. § 227(c)(5), Plaintiff is entitled to
an award of statutory damages of $500.00 for each such violation and an injunction
prohibiting future conduct in violation of the TCPA.

166. Since Defendants’ violations were committed willfully and knowingly, Plaintiff
requests an award of statutory damages of $1,500.00 under 47 U.S.C. § 227(c)(5) for
each such violation.

Wherefore, the Plaintiff requests judgment against each Defendant for:

1) Statutory Damages in the amount of $1,500 for each such violation
pursuant to 47 U.S.C. § 227(c)(5);

2) Injunctive Relief to restrain and enjoin Defendants from calling telephone
numbers on the National Do Not Call Registry;

3) Referral to the Texas Attorney General for prosecution under 47 U.S.C. §
227(g).

COUNT III - TEXAS BUSINESS AND COMMERCE CODE § 305.053
TEXAS STATE TCPA LAW

167. Texas Business and Commerce Code § 305.053 creates a right of action for “a person
who receives a communication that violates [the TCPA as codified at] 47 U.S.C.
Section 227 [or] a regulation adopted under that provision ... against the person who
originates the communication ....” Tex. Bus. & Com. Code § 305.053(a).

168. Therefore, the elements of a § 305.053 claim “correspond to the necessary elements
for a TCPA claim.” Callier v. GreenSky, Inc., No. EP-20-CV-00304-KC, 2021 U.S.
Dist. LEXIS 126769, 2021 WL 2688622, at *6 (W.D. Tex. May 10, 2021).

169. Plaintiff is entitled to an award of at least $500 in damages for each such violation

under § 305.053(b)(1).

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Plaintiff also requests the Court award treble damages based on Defendants’

Plaintiff also seeks a permanent injunction requiring Defendants to cease placing

illegal telemarketing calls.

Wherefore, the Plaintiff requests judgment against each Defendant for:

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knowing and/or intentional violations under § 305.053(c)(1).
|

1) Statutory Damages against Defendants in the amount of $1,500 for each
violation of the Telephone Consumer Protection Act (and the regulations
adopted thereto) pursuant to § 305.053(c)(1);

2) Permanent Injunction restraining and enjoining Defendants from placing
illegal telemarketing calls.

3) Injunctive Relief to refer the Court’s findings to the County District
Attorney for criminal prosecution under Texas Business and Commerce
Code § 305.051 and 305.052.

COUNT IV — TEXAS BUSINESS AND COMMERCE CODE 8 302.101
FAILURE TO OBTAIN TEXAS REGISTRATION CERTIFICATE

Texas Business and Commerce Code § 302.101 require telemarketers to obtain a
registration certificate ... for the business location from which the solicitation is
made.

Texas Business and Commerce Code § 302.101 states that a person (1) “may not
make a telephone solicitation” (a) “from a location in [Texas]” or (b) “to a purchaser
located in [Texas],” (2) “unless the [person] holds a registration certificate for the
business location from which the telephone solicitation is made.” Tex. Bus. & Com.
Code § 302.101(a).

Defendants do not hold a registration certificate.

Plaintiff may exercise a private right of action under Tex. Bus. & Com. Code § 17.50.
Plaintiff seeks an award of $5,000 per violation per Tex. Bus. & Com. Code §

302.302(a).

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177.

Plaintiff seeks a permanent injunction requiring Defendants to cease placing
telemarketing calls to residents of Texas without a registration certificate.
Wherefore, the Plaintiff requests judgment against each Defendant for:

1) Statutory Damages of $5,000 per violation pursuant to Tex. Bus. & Com.
Code § 302.302(a);

2) Costs and attorney fees pursuant to Tex. Bus. & Com. Code § 302.302(d);

3) Permanent Injunctive Relief to restrain and enjoin Defendants from placing
telemarketing calls to residents of Texas without a registration certificate.

The Plaintiff,
Christopher Laccinole

Christopher M. Laccinole
14356 N. Summerchase Cir.
Willis, TX 77318
chrislaccinole@gmail.com
401.783.0762

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EXHIBIT
A
Case 3:23-cv-01831-L-BT Document3 _ Filed 08/16/23

Electronic Articles of Incorporation

For

CRISIS RELIEF CONSULTANTS, INC.

The undersigned incorporator, for the purpose of forming a Florida

Page 27 of 31 PagelD 31

P1 nee

profit corporation, hereby adopts the following Articles of Incorporation:

Article I
The name of the corporation 1s:
CRISIS RELIEF CONSULTANTS, INC.

Article IT

The principal place of business address:

3622 S. TYLER STREET
DALLAS, TX. 75224

The mailing address of the corporation 1s:

PO BOX 691782
ORLANDO, FL. 32869

Article HI

The purpose for which this corporation is organized is:
ANY AND ALL LAWFUL BUSINESS.

Article IV

The number of shares the corporation is authorized to issue 1s:

1000

Article V

The name and Florida street address of the registered agent is:

KIRK SHERWOOD
307 CARTMEL LANE
WINDERMERE, FL. 34786

I certify that I am familiar with and accept the responsibilities of

registered agent.
Registered Agent Signature: KIRK SHERWOOD
Case 3:23-cv-01831-L-BT Document3 Filed 08/16/23 Page 28o0f31 PagelD 32

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Article VI Sed. OF State
The name and address of the incorporator is: neulligan

DON WOOD
6307 CARTMEL LANE

WINDERMERE, FL 34786

Electronic Signature of Incorporator: DON WOOD

I am the incorporator submitting these Articles of Incorporation and affirm that the facts stated herein are
true. I am aware that false information submitted in a document to the Department of State constitutes a
third degree felony as provided for in s.817.155, F.S. I understand the requirement to file an annual report
between January ist and May Ist in the calendar year following formation of this corporation and every
year thereafter to maintain "active" status.

Article VII
The initial officer(s) and/or director(s) of the corporation is/are:

Title: CEO

KIRK SHERWOOD
3622 S. TYLER STREET
DALLAS, TX. 75224

Title: P

DON WOOD

PO BOX 691782
ORLANDO, FL. 32869

Title: D

CRISIS RELIEF NETWORK, INC.
PO BOX 691782

ORLANDO, FL. 32869

Article VII

The effective date for this corporation shall be:
07/15/2019

I844 (Rev. @ASE 3:23-cv-01831-L-BT DOUWIENGCOVERGSPEEKR3

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of plead
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is rq

purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS

Christopher Laccinole

(b) County of Residence of First Listed Plaintiff Montgomery, TX

(EXCEPT IN U.S

. PLAINTIFF

DEFENDANTS

CASES)

(c) Attorneys (Firm Name, Address, and Telephone Number)

NOTE
THE TRACT

American Coalition fo
Andrew Stefanides, Crisis Relief Consultants, Inc.

County of Residence of First Listed Defendant Dallas

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(IN U.S. PLAINTIFF CASES ONLY)

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IN LAND CONDEMNATION CASES, USE THE LOCATION OF

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)

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U.S. Government
Plaintiff

CT 2 U.S. Government

[x] 3 Federal Question

(U.S. Government Not a Party)

(]4 Diversity

(For Diversity Cases Only)

PTF

Citizen of This State

[x]
C

Citizen of Another State

I. CITIZENSHIP OF PRINCIPAL PARTIES (Pace an “x” in One Box for Plaintiff

and One Box for Defendant)

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[x] 1

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Incorporated or Principal Place

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of Business In This State

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Incorporated and Principal Place

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Defendant (Indicate Citizenship of Parties in Item III) of Business In Another State
Citizen or Subject of a CJ3  [] 3 Foreign Nation [le (Ce
Foreign Country
IV. NATURE OF SUIT (Place an “x” in One Box Only) Click here for: Nature of Suit Code Descriptions.
[ CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY reenter)
110 Insurance PERSONAL INJURY PERSONAL INJURY 1625 Drug Related Seizure 422 Appeal 28 USC 158 375 False Claims Act
120 Marine 310 Airplane C 365 Personal Injury - of Property 21 USC 881 423 Withdrawal 376 Qui Tam (31 USC
130 Miller Act 315 Airplane Product Product Liability T1690 Other 28 USC 157 3729%(a))
140 Negotiable Instrument Liability (_] 367 Health Care/ ee 400 State Reapportionment
150 Recovery of Overpayment 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS 410 Antitrust
& Enforcement of Judgment! Slander Personal Injury 820 Copyrights 430 Banks and Banking
151 Medicare Act 330 Federal Employers’ Product Liability 830 Patent 450 Commerce
- 152 Recovery of Defaulted Liability J 368 Asbestos Personal 835 Patent - Abbreviated 460 Deportation
Student Loans 340 Marine Injury Product New Drug Application 470 Racketeer Influenced and
(Excludes Veterans) 345 Marine Product Liability 840 Trademark Corrupt Organizations
LC] 153 Recovery of Overpayment Liability PERSONAL PROPERTY R 880 Defend Trade Secrets | 480 Consumer Credit
of Veteran’s Benefits 350 Motor Vehicle 370 Other Fraud 710 Fair Labor Standards Act of 2016 (15 USC 1681 or 1692)

[_] 160 Stockholders’ Suits

190 Other Contract

195 Contract Product Liability
196 Franchise

[(___REALPROPERTY _|

- 355 Motor Vehicle
Product Liability

| 360 Other Personal

Injury

|] 362 Personal Injury -

Medical Malpractice

|___CIVILRIGHTS _|

371 Truth in Lending

J 380 Other Personal
Property Damage

[_] 385 Property Damage
Product Liability

| PRISONER PETITIONS _|

210 Land Condemnation
220 Foreclosure

230 Rent Lease & Ejectment
240 Torts to Land

245 Tort Product Liability
[_] 290 All Other Real Property

440 Other Civil Rights

441 Voting

442 Employment

443 Housing/
Accommodations

Employment

Other
|] 448 Education

|] 445 Amer. w/Disabilities -

| 446 Amer. w/Disabilities -

Habeas Corpus:

463 Alien Detainee

510 Motions to Vacate
Sentence

530 General

535 Death Penalty

Other:

540 Mandamus & Other

550 Civil Rights

555 Prison Condition

560 Civil Detainee -
Conditions of

r
A

Act
740 Railway Labor Act
751 Family and Medical

| 791 Employee Retirement

Income Security Act

| 720 Labor/Management
Leave Act
462 Naturalization Application
465 Other Immigration

Relations
790 Other Labor Litigation
Actions

Confinement

SOCIAL SECUI
861 HIA (1395ff)
862 Black Lung (923)
863 DIWC/DIWW (405(g))
864 SSID Title XVI
865 RSI (405(g))

870 Taxes (U.S. Plaintiff
or Defendant)

[_] 871 IRS—Third Party

26 USC 7609

Protection Act
a
Exchange
893 Environmental Matters
896 Arbitration
Agency Decision

x] 485 Telephone Consumer
490 Cable/Sat TV
850 Securities/Commodities/
| 890 Other Statutory Actions
891 Agricultural Acts
895 Freedom of Information
Act
899 Administrative Procedure
Act/Review or Appeal of
T 950 Constitutionality of
State Statutes

V. ORIGIN (Place an “X” in One Box Only)

1 Original

Proceeding

2 Removed from
State Court

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Remanded from
Appellate Court

C4 Reinstated or CO 5 Transferred from
Another District

(specify)

Reopened

Transfer

6 Multidistrict
Litigation -

8 Multidistrict
Litigation -
Direct File

VI. CAUSE OF ACTION

47 USC 227 Teleph

one Consumer Protection Act

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):

Brief description of cause:
unwanted telemarketing robocalls

VII. REQUESTED IN
COMPLAINT:

(] CHECK IF THIS IS A CLASS ACTION
UNDER RULE 23, F.R.Cv.P.

DEMAND $

CHECK YES only 1
JURY DEMAND:

f demanded in complaint:

LlyYes LINo

Vill. RELATED CASE(S)

IF ANY

(See instructions):

JUDGE

DOCKET NUMBER

DATE
Aug 11, 2023

“(LAA ATTORNEY OF RECORD
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FOR OFFICE USE ONLY

RECEIPT #

AMOUNT

APPLYING IFP

JUDGE

MAG. JUDGE

Case 3:23-cv-01831-L-BT Document3 Filed 08/16/23. Page 300f31 PagelD 34

August 11, 2023

Clerk, US District Court
1100 Commerce Street, Room 1452
Dallas, TX 75242

3-23cVI1831-4L

Dear Clerk,

Find enclosed a Civil Cover Sheet, Civil Complaint (with Exhibit A), Money Order for
$402.00, and four (4) Summons to be issued for each Defendant. Could you kindly
complete your portion of the summons and mail back to me so I can serve this? I have
enclosed a self-addressed stamped envelope so you may mail the issued summons back to
me. Feel free to contact me with any questions. Thank you very much.

Sincerely,

Chris Laccinole

14356 N. Summerchase Cir.
Willis, TX 77318
chrislaccinole@gmail.com
401.783.0762

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This package is made from post-consumer waste. Please recycle - again.
